Case 19-16046-amc   Doc   Filed 11/08/23 Entered 11/08/23 11:36:07   Desc Main
                          Document      Page 1 of 6
Case 19-16046-amc   Doc   Filed 11/08/23 Entered 11/08/23 11:36:07   Desc Main
                          Document      Page 2 of 6
Case 19-16046-amc   Doc   Filed 11/08/23 Entered 11/08/23 11:36:07   Desc Main
                          Document      Page 3 of 6
Case 19-16046-amc   Doc   Filed 11/08/23 Entered 11/08/23 11:36:07   Desc Main
                          Document      Page 4 of 6
Case 19-16046-amc   Doc   Filed 11/08/23 Entered 11/08/23 11:36:07   Desc Main
                          Document      Page 5 of 6
Case 19-16046-amc           Doc     Filed 11/08/23 Entered 11/08/23 11:36:07              Desc Main
                                    Document      Page 6 of 6



                      UNITED STATES BANKRUPTCY COURT
              EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
                 _______________________________________________

In Re:                                                              Case No: 19-16046 - Chapter: 13
                                                                      Judge: Magdeline D. Coleman
Wilson Santiago, Jr.,

                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on November 8, 2023, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

Wilson Santiago, Jr.               Debtor's Attorney                Chapter 13 Trustee
183 W. Wilt Street                 Spear Wilderman                  Kenneth E. West
Philadelphia, PA 19122             230 South Broad Street           1234 Market Street
                                   Suite 1400                       Suite 1813
                                   Philadelphia, PA 19102           Philadelphia, PA 19107


                                                                    U.S. TrusteeU.S. Trustee
                                                                    Robert N.C. Nix Federal Building
                                                                    900 Market Street, Suite 320
                                                                    Philadelphia, PA 19107




The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
